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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                        §           Chapter 11
                                              §
NORTEL NETWORKS, INC., et al.,                §           Case No. 09-10138 (KG)
                                              §
              Debtors.                        §           Jointly Administered



                                   NOTICE OF MOTION

       PLEASE TAKE NOTICE that on this date Graybar Electric Company, Inc. (“Graybar”)
filed the attached Motion of Graybar Electric Company, Inc. for Allowance of
Administrative Expense Claim Pursuant to 11 U.S.C. § 503(b)(9) (the "Motion").

       PLEASE TAKE NOTICE FURTHER that Objections to the Motion, if any, must be filed
Pursuant to the Order Establishing Exclusive Procedures for the Allowance and Treatment of
Section 503(b)(9) Claims [Docket No. 590] (the "Procedures Order"). At the same time, you
must serve a copy of the response or objection on the undersigned attorney.

       PLEASE TAKE NOTICE FURTHER that if any Objections are timely filed in
accordance with this Notice and the Procedures Order, a hearing on the Motion will be held at a
time convenient to the United States Bankruptcy Court for the District of Delaware, 844 N King
Street,Wilmington, Delaware 19801-3570.

    PLEASE TAKE NOTICE FURTHER THAT IF YOU FAIL TO RESPOND IN
ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
REQUESTED WITHOUT FURTHER NOTICE OR HEARING.

Dated: August 19, 2009                     STEVENS & LEE, P.C.

                                           /s/ John D. Demmy_____________
                                           John D. Demmy (DE Bar No. 2802)
                                           1105 North Market Street, 7th Floor
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                                           -and-




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